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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Robertson, Anschutz, Schneid, Crane &
Partners, PLLC                                       CASE NO.: 23-17245-RG
130 Clinton Road, Suite 202                          CHAPTER 13
Fairfield, NJ 07004
Telephone Number 973-575-0707
Attorneys For Secured Creditor
                                                     Objection to Confirmation of Debtor's
Sindi Mncina, Esq. (237862017)                       Chapter 13 Plan

In Re:

Luis Leonardo,


         Debtor.


         OBJECTION TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN
                U.S. Bank National Association, as trustee, on behalf of the holders of the
Adjustable Rate Mortgage Trust 2007-1, Adjustable Rate Mortgage-Backed Pass-Through
Certificates, Series 2007-1 ("Secured Creditor”), by and through its undersigned counsel, objects
to confirmation of Debtor’s Chapter 13 Plan (DE # 3), and states as follows:
   1. Luis Leonardo, (“Debtor”), filed a voluntary petition pursuant to Chapter 13 of the
         Bankruptcy Code on August 22, 2023.
   2. Secured Creditor holds a security interest in the Debtor’s real property located at 347
         Webster Ave Jersey City, NJ 07307, by virtue of a Mortgage recorded on July 5, 2006 in
         Instrument No. 000048767 of the Public Records of Hudson County, NJ. Said Mortgage
         secures a Note in the amount of $521, 250.00.
   3. The Debtor filed a Chapter 13 Plan on August 22, 2023.
   4. The Plan length is 84 months, which is in violation of Bankruptcy code.
   5. The Plan includes payments toward the Note and Mortgage with Secured Creditor,
         however the figures used by the Debtor are inaccurate. It is anticipated that Secured
         Creditor’s claim will show the pre-petition arrearage due Secured Creditor is $721,331.55
         (Proof of Claim due October 31, 2023), whereas the Plan proposes to pay only
         $570,762.00. Therefore, the Plan is not in compliance with the requirements of 11 U.S.C.

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       §§ 1322(b)(3) and 1325(a)(5) and cannot be confirmed. Secured Creditor objects to any
       plan which proposes to pay it anything less than $721,331.55 as the pre-petition arrearage
       over the life of the plan.
   6. Based on Debtor’s Schedules, the Plan does not appear feasible due to the representation
       that sufficient disposable income is not available to support the proposed Plan payments.
       Thus, the plan violates the provisions of 11 U.S.C. § 1325(a)(6) and cannot be confirmed.




WHEREFORE, Secured Creditor respectfully requests this Court sustain the objections stated
herein and deny confirmation of Debtor’s Plan, and for such other and further relief as the Court
may deem just and proper.
                                            Robertson, Anschutz, Schneid, Crane & Partners,
                                            PLLC
                                            Authorized Agent for Secured Creditor
                                            130 Clinton Road, Suite 202, Lobby B
                                            Fairfield, NJ 07004
                                            Telephone: 973-575-0707
                                            Fax: 973-404-8886

                                            By: /s/Sindi Mncina
                                            Sindi Mncina, Esquire
                                            NJ Bar Number 237862017
                                            Email: smncina@raslg.com




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DISTRICT OF NEW JERSEY
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Fairfield, NJ 07004
Telephone Number 973-575-0707
Attorneys For Secured Creditor
                                                         Objection to Confirmation of Debtor's
Sindi Mncina, Esq. (237862017)                           Chapter 13 Plan

In Re:

Luis Leonardo,


         Debtor.



                                 CERTIFICATION OF SERVICE

  1. I, Maria Jaramillo, am the secretary/paralegal for Robertson, Anschutz, Schneid, Crane &
         Partners, PLLC, who represents the U.S. Bank National Association, as trustee, on behalf
         of the holders of the Adjustable Rate Mortgage Trust 2007-1, Adjustable Rate Mortgage-
         Backed Pass-Through Certificates, Series 2007-1 in the above-captioned matter.
  2. On September 6, 2023, I caused a copy of the following pleadings and/or documents to
         be sent to the parties listed in the chart below:
         OBJECTION TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN
  3. I certify under penalty of perjury that the above documents were sent using the mode of
         service indicated.
  Date : 9/6/2023
                                                 Robertson, Anschutz, Schneid, Crane & Partners,
                                                 PLLC
                                                 Authorized Agent for Secured Creditor
                                                 130 Clinton Road, Suite 202, Lobby B
                                                 Fairfield, NJ 07004
                                                 Telephone: 973-575-0707
                                                 Fax: 973-404-8886
                                                 By: /s/ Maria Jaramillo
                                                 Email: mjaramillo@raslg.com

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  Name and Address of Party Served      Relationship of Party to the    Mode of Service
                                        Case
 John P. Fazzio                         Attorney for Debtor             [ ] Hand-delivered
 Fazzio Law Offices, LLC                                                [x] Regular mail
 5 Marine View Plaza                                                    [ ] Certified Mail/RR
 Ste 218                                                                [ ] E-mail
 Hoboken, NJ 07030                                                      [x] Notice of Electronic Filing
                                                                       (NEF)
                                                                        [ ] Other
                                                                       ___________________________
                                                                        (as authorized by the court*)
 Luis Leonardo                         Debtor                           [ ] Hand-delivered
 46 Beacon Avenue, Apartment 1                                          [x] Regular mail
 Jersey City, NJ 07306                                                  [ ] Certified Mail/RR
                                                                        [ ] E-mail
                                                                        [] Notice of Electronic Filing (NEF)
                                                                        [ ] Other
                                                                       ___________________________
                                                                        (as authorized by the court*)
 Marie-Ann Greenberg                    Trustee                         [ ] Hand-delivered
 Chapter 13 Standing Trustee                                            [x] Regular mail
 30 Two Bridges Rd                                                      [ ] Certified Mail/RR
 Suite 330                                                              [ ] E-mail
 Fairfield, NJ 07004-1550                                               [x] Notice of Electronic Filing
                                                                       (NEF)
                                                                        [ ] Other
                                                                       ___________________________
                                                                        (as authorized by the court*)
 U.S. Trustee                          U.S. Trustee                     [ ] Hand-delivered
 US Dept of Justice                                                     [x] Regular mail
 Office of the US Trustee                                               [ ] Certified Mail/RR
 One Newark Center Ste 2100                                             [ ] E-mail
 Newark, NJ 07102                                                       [ ] Notice of Electronic Filing (NEF)
                                                                        [ ] Other
                                                                       ___________________________
                                                                        (as authorized by the court*)




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